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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR Plaintiff PEGATRON CORPORATION

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
PEGATRON CORPORATION,
                                                              Plaintiff(s),
                                     V.


                                                                                             CERTIFICATION AND NOTICE
WESTINGHOUSE DIGITAL, LLC,
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)


TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Plaintiff PEGATRON CORPORATION
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

               PARTY                                                                  CONNECTION / INTEREST
PEGATRON CORPORATION                                                                  Plaintiff
WESTINGHOUSE DIGITAL, LLC                                                             Defendant




         MayZt 2014   ,


         Date                                               Signature
                                                            CHRISTINA S. C

                                                            Attorney of record for (or name of party appearing in pro per):

                                                            Plaintiff PEGATRON CORPORATION


CV-30 (05/13)                                            NOTICE OF INTERESTED PARTIES
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